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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                   CLARKSBURG DIVISION

STEVEN BROWN, et al.,                     )
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )                   Civil Action No. 1:22-cv-00080
                                          )
THE BUREAU OF ALCOHOL, TOBACCO,           )
FIREARMS, AND EXPLOSIVES, et al.,         )
                                          )
                  Defendants.             )
__________________________________________)

                                         [PROPOSED] ORDER

       AND NOW, this ____ day of December, 2023, upon consideration of Defendants’ Motion for a

Stay of Injunction Pending Appeal, ECF No. 42, is hereby GRANTED.

       It is further ORDERED that the Court’s judgment, ECF Nos. 40–41, is hereby STAYED until the

time has lapsed for a party to appeal this Court’s judgment or to file a writ of certiorari from an appellate

mandate, or until a final mandate has been issued by an appellate court in this matter, whichever is later.

It is further ORDERED that the Court’s judgment, ECF Nos. 40–41, is amended to clarify that, in the

event the stay is lifted, Defendants are enjoined from taking enforcement actions taken against federal

firearm licensees (FFLs) for violations of 18 U.S.C. §§ 922(b)(1) and (c)(1). The Court’s judgment is

further amended to clarify that the injunction does not apply to sales of handguns to persons prohibited

from possessing a firearm under 18 U.S.C. § 922(g) or any other provision of federal law or to the named

plaintiffs in McCoy v. ATF, No. 23-2085 (4th Cir.), and Reese v. ATF, No. 23-30033 (5th Cir.). The

Court’s judgment is further amended to clarify that the injunction applies only to sales of handguns to the

named Plaintiffs in this case.
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                                      BY THE COURT:



                                      ________________________________

                                      Thomas S. Kleeh, U.S.D.J.
